               Case 2:20-cr-00092-JCC Document 663 Filed 01/25/22 Page 1 of 4




 1                                                                The Honorable John C. Coughenour

 2
 3
 4
 5
 6
 7
 8
                                 UNITED STATES DISTRICT COURT FOR THE
 9                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
10
11
       UNITED STATES OF AMERICA,                         NO. CR20-092JCC
12
                                Plaintiff,               GOVERNMENT’S MOTION FOR A
13                                                       PROTECTIVE ORDER
14                         v.
                                                         Note for Calendar: February 4, 2022
15     ALAN GOMEZ-MARENTES, et al.
16
                                Defendants.
17
             The United States of America, by and through Nicholas W. Brown, United States
18
     Attorney for the Western District of Washington, and Amy Jaquette and C. Andrew
19
     Colasurdo, Assistant United States Attorneys for said District, hereby file this Motion for a
20
     Protective Order. The undersigned has provided a copy of this motion to defense counsel.
21
     To date, nine attorneys have indicated they do not object to the motion. None of the defense
22
     counsel have raised an objection.
23
                                                I.   BACKGROUND
24
             The United States has provided and is continuing to provide counsel for the
25
     defendants with discovery materials consistent with its discovery obligations under Rule 16
26
     of the Federal Rules of Criminal Procedure (CrR), the Local Rules of the Western District of
27
     Washington, and Brady v. Maryland and its progeny.
28

      Government’s Motion for Protective Order - 1                            UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5200
      U.S. v. Gomez-Marentes, et al., CR20-092JCC                              SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
               Case 2:20-cr-00092-JCC Document 663 Filed 01/25/22 Page 2 of 4




 1           The government anticipates that pursuant to these obligations it will be required to
 2 produce discovery materials that will provide identifying information about the confidential
 3 informants and other potential witnesses. Such materials include audio recordings in which
 4 the informants’ voices are plainly audible, and/or descriptions of conversations by which the
 5 informants could be identified, and/or photographs and videos of controlled buys and/or
 6 meetings during which the informants and their vehicles are clearly visible. The United
 7 States is concerned that dissemination of this sensitive information may create opportunities
 8 for witness intimidation or retaliation against the informants and/or the informants’
 9 associates and family members.
10           In addition, the United States may produce records relating to statements of
11 defendants and/or civilian witness interviews. In many cases, these materials contain
12 information that could be interpreted by others, whether rightly or wrongly, as assistance to
13 law enforcement. Thus, concerns regarding witness intimidation or retaliation arise.
14           Finally, the discovery materials will almost inevitably include personal/sensitive
15 information about, and photographs of, some of the charged defendants and other witnesses.
16 For instance, the government has seized many cell phones belonging to various defendants
17 and witnesses, which will likely contain personal/sensitive information and photographs.
18 The government has also obtained voluminous financial records, to include bank statements
19 and records of other financial transactions, in connection with its money laundering
20 investigation, all of which will contain personal/sensitive information. In addition, other
21 records will likely contain PII (names, dates of birth, social security numbers, etc.), which
22 should not be disseminated.
23           These materials are collectively referred to herein as “Protected Material.” Through
24 this motion, the parties stipulate and agree regarding the handling and dissemination of
25 Protected Material with respect to this case.
26                                  II.     PROTECTIVE ORDER REQUEST
27           Pursuant to Fed. R. Crim. P. 16(d)(1), this Court has wide discretion to direct the
28 disclosure and dissemination of discovery materials:

      Government’s Motion for Protective Order - 2                             UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5200
      U.S. v. Gomez-Marentes, et al., CR20-092JCC                               SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
               Case 2:20-cr-00092-JCC Document 663 Filed 01/25/22 Page 3 of 4




 1
             At any time the court may, for good cause, deny, restrict, or defer discovery or
 2           inspection, or grant other appropriate relief. The court may permit a party to show
 3           good cause by a written statement that the court will inspect ex parte. If relief is
             granted, the court must preserve the entire text of the party’s statement under seal.
 4
 5 Fed. R. Crim. P. 16(d)(1).
 6       The government requests that the Court exercise this discretion and issue a Protective

 7 Order that would prohibit the dissemination of the Protected Material and the information
 8 contained therein, as set forth in greater detail in the proposed Protective Order. In essence,
 9 under the proposed Protective Order, possession of the Protected Material would be limited
10 to the attorneys of record in this case and their staff, and to any investigators, expert
11 witnesses, and other agents that the attorneys of record retain in connection with this case.
12 The defendants would be permitted to inspect and review the Protected Material but would
13 not be permitted to possess Protected Material or make or retain copies of Protected
14 Material. These proposed restrictions are designed to permit full use of the Protected
15 Material and information contained therein in the preparation of each defendant’s defense,
16 but to avoid distributing Protected Material and the information therein to other persons who
17 have no legitimate defense-related need for the information.
18       Nothing in the Proposed Order prevents any party from seeking to modify the

19 Protective Order or from raising any other discovery-related objections. In the event that
20 counsel for a defendant believes that the government has incorrectly designated material as
21 Protected Material, the attorney will first confer with the government to attempt to resolve
22 the issue. If the parties cannot resolve the dispute, counsel can raise the issue with the Court
23 by way of a motion.
24       Nothing in the Proposed Order requires the government to provide discovery at a time

25 or in a fashion inconsistent with applicable law. The failure to designate any materials shall
26 not constitute a waiver of a party’s assertion that the materials are covered by this Protective
27 Order.
28

      Government’s Motion for Protective Order - 3                             UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5200
      U.S. v. Gomez-Marentes, et al., CR20-092JCC                               SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
              Case 2:20-cr-00092-JCC Document 663 Filed 01/25/22 Page 4 of 4




 1                                              III.   CONCLUSION
 2          Based on the facts outlined above, the government respectfully requests that this
 3 Court issue a Protective Order that prohibits the reproduction or dissemination of the
 4 Protected Material.
 5          DATED this 25th day of January 2022.
 6
                                                         Respectfully submitted,
 7
 8                                                       NICHOLAS W. BROWN
                                                         United States Attorney
 9
10                                                       s/ Amy Jaquette
                                                         AMY JAQUETTE
11                                                       C. ANDREW COLASURDO
12                                                       Assistant United States Attorney
                                                         United States Attorney’s Office
13                                                       700 Stewart, Suite 5220
14                                                       Seattle, WA 98101-3903
                                                         Telephone: 206-553-7970
15                                                       Fax:          206-553-4986
16                                                       E-mail: amy.jaquette@usdoj.gov

17
18
19
20
21
22
23
24
25
26
27
28

     Government’s Motion for Protective Order - 4                              UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5200
     U.S. v. Gomez-Marentes, et al., CR20-092JCC                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
